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                                   4                                UNITED STATES DISTRICT COURT

                                   5                             NORTHERN DISTRICT OF CALIFORNIA

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                                   7       IN RE: EX PARTE APPLICATION OF                 Case No. 21-mc-80245-TSH
                                           YUZO TAKAI,
                                   8                                                      ORDER GRANTING EX PARTE
                                                       Applicant.                         APPLICATION FOR DISCOVERY
                                   9                                                      PURSUANT TO 28 U.S.C. § 1782
                                  10                                                      Re: Dkt. No. 1
                                  11

                                  12
Northern District of California
 United States District Court




                                  13                                        I.    INTRODUCTION
                                  14          Applicant Yuzo Takai moves ex parte for an order pursuant to 28 U.S.C. § 1782

                                  15   authorizing discovery from Google LLC for use in a contemplated civil proceeding and criminal

                                  16   investigation in Japan. ECF No. 1. For the reasons set forth below, the Court GRANTS the

                                  17   application.

                                  18                                        II.   BACKGROUND
                                  19          Applicant is the sole proprietor of Ageo Kanade Dentistry Mouth & Peace Orthodontics

                                  20   (the “Clinic”), located in Japan. Takai Decl. ¶ 2, ECF No. 2; Nagai Decl. ¶ 4, ECF No. 3. Google

                                  21   is a Delaware limited liability company with its principal office at 1600 Amphitheatre Parkway,

                                  22   Mountain View, California 94043. Nagai Decl. ¶ 5 & Ex. 1.1

                                  23          The Clinic maintains a Google My Business account, by which it can edit its business

                                  24   profile that appears on various services operated by Google, including the Google search engine

                                  25   and Google Maps. Takai Decl. ¶ 9. When prospective patients search for the Clinic on the

                                  26
                                       1
                                  27    Statement of Information of Google filed and dated March 24, 2021, obtained from the
                                       California Secretary of State website at:
                                  28   https://businesssearch.sos.ca.gov/Document/RetrievePDF?Id=201727810678-
                                       30191227.
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                                   1   Google search engine, the Google Maps business profile and reviews and ratings of the Clinic are

                                   2   displayed as search results. Id. ¶¶ 10-11. Since January 15, 2020 and continuing to at least

                                   3   September 27, 2021, anonymous individuals, using unknown Google accounts, have repeatedly

                                   4   changed the Clinic’s name on its Google My Business account from “Ageo Kanade Dentistry

                                   5   Mouth & Peace Orthodontics” to “Ageo Kanade Dentistry.” Id. ¶¶ 13, 15. As of August 31,

                                   6   2021, the anonymous individuals have caused the name changes at least 115 times. Id. ¶ 13, Exs.

                                   7   2-3; Katsurada ¶ 5, Ex. B-1, ECF No. 4.2 Applicant believes the individuals are causing the name

                                   8   changes by using the “Suggest an edit” function of Google Maps, for which a Google account is

                                   9   necessary.3 Takai Decl. ¶ 14. Google Accounts are controlled by Google.4

                                  10          Because of the name changes, when a prospective patient searches for the Clinic on the

                                  11   Google search engine, they are misled into believing it is a general practice dental clinic that does

                                  12   not provide or specialize in orthodontic care. Id. ¶¶ 16-18. As such, the Clinic has lost business of
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                                  13   prospective patients, has had to alter its business routine to correct the name changes every time

                                  14   they occur, and the name changes have been determined by Google’s automated system to be

                                  15   suspicious activity or spam, which has resulted in the Clinic’s Google My Business account being

                                  16   suspended on four separate occasions. Id. ¶¶ 19-22, Exs. 4 (e-mail notifications of the

                                  17   suspensions) & 5 (e-mail received by the Clinic from the e-mail address of Google’s support team

                                  18   responsible for Google My Business accounts on June 3, 2021, in which Google mentions that the

                                  19   name changes may be considered spam by Google in the context of explaining possible causes of

                                  20   the suspensions of the Clinic’s account); Katsurada Decl. ¶¶ 6-7, Exs. C-1, D-1 (respective

                                  21   English translations of Exhibits 4 and 5 attached to the declaration of Yuzo Takai).

                                  22          During the suspension of the Clinic’s My Google Business account, its profile, ratings, and

                                  23

                                  24   2
                                         English translation of the first page of Exhibit 2 attached to the declaration of
                                  25   Yuzo Takai. According to Applicant, all pages of Exhibit 2 are essentially the same except for
                                       their dates, and as such, Exhibit B-1 serves as a representative sample of the 115 e-mails.
                                       3
                                  26     Google LLC, Edit business information in Google Maps, Google Maps Help,
                                       https://support.google.com/maps/answer/7084895
                                  27
                                       4
                                         Google LLC, Services that use Google’s Terms of Service & their service-specific
                                       additional terms and policies, Google Privacy & Terms,
                                  28   https://policies.google.com/terms/service-specific?hl=en-US (Terms of Service apply to Google
                                       Accounts, and services that are subject to Terms of Service are services of Google LLC).
                                                                                           2
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                                   1   reviews cease to appear on Google search results or on Google Maps, which results in almost no

                                   2   new patients contacting the Clinic through the internet. Takai Decl. ¶¶ 22-24, Ex. 4; Katsurada

                                   3   Decl. ¶ 6, Ex. C-1 (English translation of Exhibit 4 attached to the declaration of Yuzo Takai).

                                   4   The name changes and the resulting suspension have caused significant financial damage to the

                                   5   Clinic. Takai Decl. ¶¶ 19, 20, 25-26. Despite these consequences, Google has refused to prevent

                                   6   the anonymous individuals from causing the name changes and has refused to disclose their true

                                   7   identities without a court order or subpoena. Id. ¶¶ 28-29, Exs. 6-7 (emails from Google’s support

                                   8   team); Katsurada Decl. ¶¶ 8-9, Exs. E-1, F-1 (respective English translations of Exhibits 6 and 7

                                   9   attached to the declaration of Yuzo Takai).

                                  10          The name changes continue on a daily basis as of September 27, 2021, and the frequency

                                  11   at which the changes are occurring has been intensifying, which has stressed the operations of the

                                  12   Clinic, and which is causing significant financial loss. Takai Decl. ¶¶ 26-27, 30. Further, unless
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                                  13   the Clinic is able to stop the anonymous individuals, there is a possibility that Google will

                                  14   terminate the Clinic’s Google My Business account. Id. ¶ 30, Ex. 4 at 1-4 (Google warning that

                                  15   account may be terminated); Katsurada Decl. ¶ 6, Ex. C-1 at 1-4 (“If your violations continue,

                                  16   your Google Account may be terminated”).

                                  17          The Clinic suspects that the name changes are being caused by a competitor to mislead

                                  18   prospective patients that it does not provide orthodontic care, and to lure prospective patients to

                                  19   the competitor’s business. Takai Decl. ¶¶ 17-18, 31. According to Applicant, the individuals’ acts

                                  20   are unlawful and actionable under Japanese law, they were done to interfere with the Clinics’

                                  21   business, and they have injured and continue to cause loss of business and financial damage. Id.

                                  22   ¶¶ 19, 25-27, 30-33; Nagai Decl. ¶¶ 6-13, 19-26. Applicant contends that the anonymous

                                  23   individuals have committed a tort pursuant to Article 709 of the Civil Code of Japan by damaging

                                  24   the Clinic, and the Clinic intends to file civil lawsuits against them. Takai Decl. ¶¶ 32-35; Nagai

                                  25   Decl. ¶¶ 6-13. Applicant also contends the Clinic has sufficient evidence to make out a prima

                                  26   facie case for a tort pursuant to Article 709, and the civil lawsuits will withstand a motion to

                                  27   dismiss in Japan. Nagai Decl. ¶ 13. However, to file the civil lawsuits, the true identities of the

                                  28   individuals are necessary. Id. ¶ 18.
                                                                                         3
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                                   1           Additionally, Applicant contends the anonymous individuals have committed the crime of

                                   2   fraudulent obstruction of business pursuant to Article 233 of the Penal Code of Japan, and the

                                   3   Clinic intends to file criminal complaints with the Japanese police (the “Investigative

                                   4   Authorities”), which will initiate formal criminal investigations against the individuals to

                                   5   determine whether to prosecute. Takai Decl. ¶¶ 32-35; Nagai Decl. ¶¶ 19-26. For the

                                   6   Investigative Authorities to accept the criminal complaints, information that may lead to the true

                                   7   identities of the individuals, such as the access log of the subject Google accounts, is necessary.

                                   8   Nagai Decl. ¶ 27.

                                   9           On October 18, 2021, Applicant filed the present ex parte application seeking leave to

                                  10   conduct limited discovery by serving a subpoena upon Google to identify the individuals’

                                  11   identities.

                                  12                                        III.   LEGAL STANDARD
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                                  13           Section 1782 provides: “The district court of the district in which a person resides or is

                                  14   found may order him to give his testimony or statement or to produce a document or other thing

                                  15   for use in a proceeding in a foreign or international tribunal . . . . The order may be made . . . upon

                                  16   the application of any interested person[.]” 28 U.S.C. § 1782(a). A district court is authorized to

                                  17   grant a § 1782 application where “(1) the person from whom the discovery is sought ‘resides or is

                                  18   found’ in the district of the district court where the application is made; (2) the discovery is ‘for

                                  19   use in a proceeding in a foreign or international tribunal’; and (3) the application is made by a

                                  20   foreign or international tribunal or ‘any interested person.’” Khrapunov v. Prosyankin, 931 F.3d

                                  21   922, 925 (9th Cir. 2019) (citations omitted).

                                  22           The court has wide discretion to grant discovery under § 1782. Intel Corp. v. Advanced

                                  23   Micro Devices, Inc., 542 U.S. 241, 260-61 (2004). In exercising its discretion, a district court

                                  24   should consider the following factors: (1) whether the “person from whom discovery is sought is a

                                  25   participant in the foreign proceeding,” (2) “the nature of the foreign tribunal, the character of the

                                  26   proceedings underway abroad, and the receptivity of the foreign government or the court or

                                  27   agency abroad to U.S. federal court judicial assistance,” (3) whether the request “conceals an

                                  28   attempt to circumvent foreign proof-gathering restrictions or other policies of a foreign country or
                                                                                          4
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                                   1   the United States,” and (4) whether the request is “unduly intrusive or burdensome.” Id. at 264-

                                   2   65. The court’s discretion is to be exercised in view of the twin aims of § 1782: “providing

                                   3   efficient assistance to participants in international litigation and encouraging foreign countries by

                                   4   example to provide similar assistance to our courts.” Id. at 252. There is no requirement that the

                                   5   party seeking discovery establish that the information sought would be discoverable under the

                                   6   governing law in the foreign proceeding or that United States law would allow discovery in an

                                   7   analogous domestic proceeding. Id. at 247, 261-63. “Section 1782 is a provision for assistance to

                                   8   tribunals abroad. It does not direct United States courts to engage in comparative analysis to

                                   9   determine whether analogous proceedings exist here.” Id. at 263.

                                  10            Applications made under § 1782 are typically considered on an ex parte basis because

                                  11   “parties will be given adequate notice of any discovery taken pursuant to the request and will then

                                  12   have the opportunity to move to quash the discovery or to participate in it.” IPCom GmbH & Co,
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                                  13   KG v. Apple, Inc., 61 F. Supp. 3d 919, 922 (N.D. Cal. 2014). Consequently, orders granting §

                                  14   1782 applications typically only provide that discovery is “authorized,” and thus the opposing

                                  15   party may still raise objections and exercise its due process rights by challenging the discovery

                                  16   after it is issued via a motion to quash, which mitigates concerns regarding any unfairness of

                                  17   granting the application ex parte. In re Ex Parte Appl. Varian Med. Sys. Int’l AG, 2016 WL

                                  18   1161568, at *2 (N.D. Cal. Mar. 24, 2016).

                                  19                                            IV.   DISCUSSION
                                  20   A.       Statutory Requirements
                                  21            Applicant’s request satisfies the statutory requirements of § 1782. First, Google can be

                                  22   found in this district because its principal office is in Mountain View, California. See In re Med.

                                  23   Corp. Seishinkai, 2021 WL 3514072, at *2 (N.D. Cal. Aug. 10, 2021) (“T]he subpoena seeks

                                  24   discovery from Google, which is located in this District.”); In re Super Vitaminas, S.A., 2017 WL

                                  25   5571037, at *2 (N.D. Cal. Nov. 20, 2017) (having an office in this district is sufficient under §

                                  26   1782).

                                  27            Second, to apply for discovery pursuant to § 1782, a formal proceeding in the foreign

                                  28   jurisdiction need not be currently pending, or even imminent. Intel, 542 U.S. at 258-59. Instead,
                                                                                         5
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                                   1   all that is necessary is that a “dispositive ruling” by the foreign adjudicative body is “within

                                   2   reasonable contemplation.” Id. at 259 (holding that discovery was proper under § 1782 even

                                   3   though the applicant’s complaint was still only in the investigative stage). Applicant has shown a

                                   4   “reasonable contemplation” of litigation because the discovery sought is for purposes of a civil

                                   5   lawsuit to be filed in Japan, and for a criminal complaint to be filed in Japan that will initiate a

                                   6   criminal investigation. See In re Med. Corp. Seishinkai, 2021 WL 3514072, at *2 (“Applicant

                                   7   requests this discovery for use in a civil action that it intends to file in Japan once it learns the

                                   8   identity of the Google account users responsible for the relevant postings. . . . This proceeding

                                   9   before a foreign tribunal appears to be within reasonable contemplation.”); In re Ex Parte Appl. Of

                                  10   Haruki Hattori, 2021 WL 4804375, at *3 (N.D. Cal. Oct. 14, 2021) (same).

                                  11           Third, Applicant—as the prospective litigant—has a “reasonable interest” in obtaining

                                  12   judicial assistance and, therefore, may apply for assistance pursuant to § 1782. See Intel, 542 U.S.
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                                  13   at 256 (litigants are the most common example of interested person); In re Yasuda, 2019 WL

                                  14   4933581, at *3 (N.D. Cal. Oct. 7, 2019) (prospective litigant in Japanese civil case had reasonable

                                  15   interest under § 1782); In re Med. Corp. Seishinkai, 2021 WL 3514072, at *2 (“Applicant, as the

                                  16   putative plaintiff in the contemplated civil action, is an interested person within the meaning of the

                                  17   statute.”).

                                  18   B.      Discretionary Intel Factors
                                  19           Although Applicant satisfies the statutory requirements, the Court must also determine

                                  20   whether judicial assistance is appropriate by considering the Intel factors.

                                  21           1.      Participation of Target in the Foreign Proceeding
                                  22           The first factor considers whether the person from whom discovery is sought is a party to

                                  23   the foreign proceeding. Intel, 542 U.S. at 247. However, “the key issue is whether the material is

                                  24   obtainable through the foreign proceeding.” In re Med. Corp. Seishinkai, 2021 WL 3514072, at

                                  25   *2 (simplified). According to Applicant, Google will not be a party to the civil action brought the

                                  26   Clinic. Nagai Decl. ¶ 31. The documents Applicant seeks by subpoena are located in the United

                                  27   States, and he contends that the evidence is thus outside the reach of a Japanese court’s

                                  28   jurisdiction. Id. Under these circumstances, the Court finds there is a need for assistance pursuant
                                                                                           6
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                                   1   to § 1782, so this factor weighs in favor of permitting discovery. In re Med. Corp. Seishinkai,

                                   2   2021 WL 3514072, at *2 (finding first factor satisfied where Google would not be party to

                                   3   contemplated proceedings and documents sought were in the United States); In re Ex Parte Appl.

                                   4   of Haruki Hattori, 2021 WL 4804375, at *3 (same).

                                   5          2.      Receptivity of Foreign Court to U.S. Judicial Assistance
                                   6          The second Intel factor weighs in favor of discovery unless the foreign tribunal in question

                                   7   has expressly made it clear that it would not accept the evidence. In re Appl. of Jt. Stock Co.

                                   8   Raiffeinsenbank, 2016 WL 6474224, at *5 (N.D. Cal. Nov. 2, 2016) (Under this factor, “courts

                                   9   look for authoritative proof that a foreign tribunal would reject evidence obtained with the aid of §

                                  10   1782.”). In the absence of authoritative proof that a foreign tribunal would reject evidence

                                  11   obtained with the aid of § 1782, courts tend to err on the side of permitting discovery. See

                                  12   Palantir Techs., Inc. v. Abramowitz, 415 F. Supp. 3d 907, 915 (N.D. Cal. 2019) (citation omitted);
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                                  13   In re Med. Corp. H&S, 2019 WL 1230440, at *3 (N.D. Cal. Mar. 15, 2019) (“In the absence of

                                  14   evidence that Japanese courts would object to MCHS’s discovery of the information sought in the

                                  15   subpoena, or that they object more generally to the judicial assistance of U.S. federal courts, the

                                  16   Court concludes that this factor weighs in favor of authorizing service of the subpoena.”).

                                  17          Here, the declarations submitted in support of the application confirm there are no known

                                  18   restrictions imposed by or any policies under Japanese law limiting U.S. federal court judicial

                                  19   assistance, and that Japanese courts and the Investigative Authorities are receptive to assistance in

                                  20   discovery by U.S. federal courts, including discovery of personal identifying information of

                                  21   individuals posting anonymous online reviews. Nagai Decl. ¶¶ 32-33. Further, courts in this

                                  22   district have in the past granted § 1782 discovery for use in Japanese proceedings. See, e.g., In re

                                  23   Med. Corp. H&S, 2019 WL 1230440; In re Med. Corp. Seishinkai, 2021 WL 3514072; In re

                                  24   Yasuda, 2019 WL 4933581; In re Ex Parte Appl. Of Haruki Hattori, 2021 WL 4804375. Because

                                  25   there is evidence showing that Japanese courts and the Investigative Authorities are receptive to

                                  26   U.S. federal court judicial assistance, and because there is nothing to show that Japanese courts or

                                  27   Investigative Authorities would object to discovery of the information sought by Applicant, this

                                  28   factor weighs in favor of authorizing discovery.
                                                                                          7
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                                   1             3.     Circumvention of Foreign Proof-Gathering Restrictions

                                   2             The third Intel factor weighs in favor of discovery unless the applicant is attempting to

                                   3   circumvent the foreign country’s proof-gathering restrictions. Intel, 542 U.S. at 244-45. The

                                   4   question under this prong is whether the foreign court would be affronted by the applicant’s resort

                                   5   to U.S. discovery. In re Appl. of Gianoli Aldunate, 3 F.3d 54, 61-62 (2d Cir. 1993). “A

                                   6   perception that an applicant has side-stepped less-than-favorable discovery rules by resorting

                                   7   immediately to § 1782 can be a factor in a court’s analysis.” In re Cathode Ray Tube (CRT)

                                   8   Antitrust Litig., 2013 WL 183944, at *3 (N.D. Cal. Jan. 17, 2013) (citing In re Appl. of Caratube

                                   9   Int'l Oil Co., 730 F. Supp. 2d 101, 107-08 (D.D.C. 2010)). Courts have found that this factor

                                  10   weighs in favor of discovery where there is “nothing to suggest that [the applicant] is attempting

                                  11   to circumvent foreign proof-gathering restrictions.” In re Google, Inc., 2014 WL 7146994, at *3

                                  12   (N.D. Cal. Dec. 15, 2014); In re Eurasian Natural Resources Corp. Ltd., 2018 WL 1557167, at *3
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                                  13   (N.D. Cal. Mar. 30, 2018).

                                  14             Here, Applicant provided the declaration of Mr. Nagai, an attorney for Applicant who is

                                  15   registered to practice in Japan. Nagai Decl. ¶ 1. Mr. Nagai states he is aware of no restrictions or

                                  16   policies under Japanese law that would limit the gathering of the evidence Applicant seeks here.

                                  17   Id. ¶ 34. In the absence of contrary information regarding the procedures acceptable to a Japanese

                                  18   court for identifying the Google account-users, the Court concludes that this factor also weighs in

                                  19   favor of discovery. See In re Med. Corp. Seishinkai, 2021 WL 3514072, at *3 (factor weighs in

                                  20   favor of discovery in the absence of evidence that Japanese law would limit the gathering of

                                  21   evidence sought under § 1782); In re Ex Parte Appl. of Haruki Hattori, 2021 WL 4804375, at *4

                                  22   (same).

                                  23             4.     Unduly Burdensome of Intrusive Discovery
                                  24             Finally, the Court considers whether “the discovery requested is unduly intrusive or

                                  25   burdensome.” Intel, 542 U.S. at 265. Requests are unduly intrusive and burdensome where they

                                  26   are not narrowly tailored, request confidential information and appear to be a broad “fishing

                                  27   expedition” for irrelevant information. In re Ex Parte Appl. of Qualcomm Inc., 162 F. Supp. 3d

                                  28   1029, 1043 (N.D. Cal. 2016). Request Nos. 1-4 in Applicant’s proposed subpoena to Google seek
                                                                                           8
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                                   1   the following categories of documents:

                                   2                  REQUEST FOR PRODUCTION NO. 1. ALL DOCUMENTS
                                                      showing the following information ever registered with ACCOUNT
                                   3                  1:
                                   4                  (i)     Google Account ID;
                                                      (ii)    given name, family name, or ALL names;
                                   5                  (iii)   physical, billing, shipping, or ALL other addresses;
                                                      (iv)    recovery, authentication, or ALL other e-mail addresses;
                                   6                  (v)     recovery, authentication, or ALL other telephone numbers;
                                                      (vi)    ALL names and addresses of ALL credit cards registered to
                                   7                          ACCOUNT 1 (but not the credit card number, expiration date,
                                                              or card validation code); and,
                                   8                  (vii)   ALL names, addresses, e-mail addresses, telephone numbers,
                                                              and names of the payment methods (such as PayPal), for ALL
                                   9                          non-credit card payment methods registered to ACCOUNT 1.
                                  10                  REQUEST FOR PRODUCTION NO. 2. ALL DOCUMENTS
                                                      showing the following information (i) as of the date that ACCOUNT
                                  11                  1 was created, (ii) as of the date that ACCOUNT 1 caused ALL
                                                      NAME CHANGES, and (iii) for the three-month period immediately
                                  12                  preceding October 18, 2021 and until the date that you respond to this
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                                                      request: ALL access log and login history (dates, times, IP addresses,
                                  13                  and type of accesses) of ACCOUNT 1.
                                  14                  REQUEST FOR PRODUCTION NO. 3. ALL DOCUMENTS
                                                      showing the following information ever registered with ALL Google
                                  15                  Ads accounts or ALL other accounts that are controlled by you that
                                                      ACCOUNT 1 has ever been used to login with (the “OTHER
                                  16                  ACCOUNTS 1”):
                                  17                  (i)     given name, family name, or ALL names;
                                                      (ii)    physical, billing, shipping, or ALL other addresses;
                                  18                  (iii)   recovery, authentication, or ALL other e-mail addresses;
                                                      (iv)    recovery, authentication, or ALL other telephone numbers;
                                  19                  (v)     ALL names and addresses of ALL credit cards registered to
                                                              ALL of the OTHER ACCOUNTS 1 (but not the credit card
                                  20                          number, expiration date, or card validation code);
                                                      (vi)    ALL names, addresses, e-mail addresses, telephone numbers,
                                  21                          and names of the payment methods (such as PayPal), for ALL
                                                              non-credit card payment methods registered to ALL of the
                                  22                          OTHER ACCOUNTS 1; and,
                                                      (vii)   the type of ALL of the OTHER ACCOUNTS 1 (such as a
                                  23                          Google Ads account).
                                  24                  REQUEST FOR PRODUCTION NO. 4. ALL DOCUMENTS
                                                      showing the following information as of the date that ALL of the
                                  25                  OTHER ACCOUNTS 1 were created, and for the three-month period
                                                      immediately preceding October 18, 2021 and until the date that you
                                  26                  respond to this request: ALL access log and login history (dates,
                                                      times, IP addresses, and type of accesses) of ALL of the OTHER
                                  27                  ACCOUNTS 1.
                                  28   Mot., Ex. B. The Court finds this discovery is narrowly tailored to seek only sufficient
                                                                                        9
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                                   1   information to identify the individuals. It is not unduly intrusive or burdensome, as Applicant

                                   2   seeks discovery of only personal identifying information such as names, addresses, telephone

                                   3   numbers, and e-mail addresses, or information that will lead to the discovery of personal

                                   4   identifying information, such as names and addresses on credit cards and access logs for very

                                   5   limited periods of time, which information is stored by Google in the ordinary course of its

                                   6   business. See In re Frontier Co., Ltd., 2019 WL 3345348, at *5 (N.D. Cal. July 25, 2019)

                                   7   (granting § 1782 request to issue a subpoena for the name, address, email address, telephone

                                   8   number and name and address on credit cards); In re Med. Corp. Seishinkai, 2021 WL 3514072, at

                                   9   *4-5 (authorizing similar discovery from Google); In re Ex Parte Appl. of Haruki Hattori, 2021

                                  10   WL 4804375, at *5 (same).

                                  11          Additionally, the subpoena does not seek the content of any communications associated

                                  12   with the subject Google account, in compliance with the Stored Communications Act, 18 U.S.C. §
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                                  13   2701 et seq. See, e.g., Optiver Australia Pty. Ltd. v. Tibra Trading Pty. Ltd., 2013 WL 256771, at

                                  14   *2-3 (N.D. Cal. Jan. 23, 2013) (discussing prohibitions of the Stored Communications Act).

                                  15          Accordingly, subject to the requirements discussed below, the Court will permit Applicant

                                  16   to serve the proposed subpoena on Google.

                                  17                                           V.    CONCLUSION
                                  18          The application meets the statutory criteria for an order authorizing service of the proposed

                                  19   subpoena. In addition, the factors that inform the Court’s exercise of its discretion under Intel

                                  20   favor authorizing service of the proposed subpoena. Accordingly, the Court authorizes service of

                                  21   the proposed subpoena on Google. This order does not foreclose a motion to quash or modify the

                                  22   subpoena by Google following service or by the Google account user whose identifying

                                  23   information is sought, and the Court orders Applicant to comply with the following requirements

                                  24   to ensure all interested persons have an opportunity to contest the subpoena if they wish:

                                  25          1.      At the time of service of the subpoena, Applicant must also serve a copy of this

                                  26                  order on Google.

                                  27          2.      Within 10 calendar days of service of the subpoena and this order, Google shall

                                  28                  notify the account user that their identifying information is sought by Applicant and
                                                                                        10
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                                   1                  shall serve a copy of this order on each such account user.

                                   2          3.      Google and/or the account user whose identifying information is sought may,

                                   3                  within 21 days from the date of the notice, file a motion in this Court contesting the

                                   4                  subpoena (including a motion to quash or modify the subpoena).

                                   5          4.      If any party contests the subpoena, Google shall preserve, but not disclose, the

                                   6                  information sought by the subpoena pending resolution of that contest.

                                   7          5.      Any information Applicant obtains pursuant to the subpoena may be used only for

                                   8   purposes of the anticipated actions in Japan, and Applicant may not release such information or

                                   9   use it for any other purpose, absent a Court order authorizing such release or use.

                                  10          IT IS SO ORDERED.

                                  11

                                  12   Dated: November 9, 2021
Northern District of California
 United States District Court




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                                                                                                    THOMAS S. HIXSON
                                  14                                                                United States Magistrate Judge
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